                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 JEFFERY WALBURN, et al.                        )   Civil Action No. 2:20-cv-04621-ALM-EPD
                                                )
               Plaintiffs,                      )   Chief Judge Algenon L. Marbley
                                                )
        v.                                      )   Magistrate Judge Elizabeth P. Deavers
                                                )
 CENTRUS ENERGY CORP., et al.                   )
                                                )
               Defendants.                      )
                                                )


                             NOTICE OF VOLUNTARY DISMISSAL


       Plaintiffs, by and through undersigned counsel, hereby voluntarily dismiss their claims

without prejudice against Defendants pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Defendants have

not served an answer or a motion for summary judgment to Plaintiffs’ Complaint.



                                                    Respectfully submitted,

                                                    /s/ Nathan A. Hunter (0096389)
                                                    Trial Attorney
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                                                    Counsel for Plaintiffs
                                CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of November, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF System. Copies will be served upon

counsel of record, and may be obtained through, the Court's CM/ECF System.




                                                     Respectfully submitted,

                                                     /s/ Nathan A. Hunter (0096389)
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